Case 2:01-cr-20019-.]DB Document 170 Filed 08/17/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WES'I‘ERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA
Plaintiff,

VS.

CHRISTOPHER BYRNE
Defendant.

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CR. NO. 2:01-20019~02-B

 

ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On August 17, 2005, Christopher Byrne appeared before on a

charge of violation of the terms and conditions of

probation/supervised release in this matter. The defendant Was

advised of his rights under FRCrP 5 and 32.l(a)(l).

At this hearing, the defendant was released on bond. A

preliminary hearing on the violation was not held.

Accordingly, defendant Christopher Byrne is held to a final

revocation hearing, to be set on notice from the United States

District Court and. in accordance With the provisions of Rule

32.l(a){2), Federal Rules of Criminal Procedure.

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UNITED S'I'ATES MAGISTRATE JUDGE

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with Rule 55 and/or 32(b) FHCrP on

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Honorable J. Breen
US DISTRICT COURT

